    8:13-cb-00010-SMB        Doc # 40     Filed: 02/12/14    Page 1 of 1 - Page ID # 77




                      IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF NEBRASKA



UNITED STATES OF AMERICA,

                     Plaintiff,
                                                   8:13CB10
       vs.                                         Violation Number 1753507 NE14

                                                                     ORDER
MELISSA L. DEBORTOLI,

                     Defendant.


              The United States of America=s Motion to Dismiss (Filing No. 38) is granted.

The above-referenced matter is hereby dismissed without prejudice.


              ORDERED this 12th day of February, 2014.


                                           BY THE COURT:


                                           s/ Thomas D. Thalken
                                           United States Magistrate Judge
